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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


 West Bend Mutual Insurance Company,                  Civil No. 19-cv-2346 PJS/ECW

                      Plaintiff,

 v.                                                               ORDER

 Laurie Gregor; N.M. by Crystal and
 Brendan McNally; Crystal McNally, in her
 individual capacity; and Brendan McNally,
 in his individual capacity,

                      Defendants.



       The Court held a Rule 16 conference in this matter on December 10, 2019.

Plaintiff informed the Court that it was considering moving to stay this case, or to dismiss

this case, possibly for lack of standing, pending the outcome of the underlying state court

action filed in Scott County District Court, Court File No. 70-CV-18-7784. Counsel for

N.M., Crystal McNally, and Brendan McNally (“the McNallys”) informed the Court that

they were considering moving for early summary judgment based on evidence from an

underlying criminal proceeding involving Defendant Laurie Gregor.

       Having heard the statements of counsel, and based on the files, records, and

proceedings herein, IT IS ORDERED THAT:

       1.     Plaintiff and the McNallys shall each file a letter on CM/ECF on January

              9, 2020 stating what motion or motions they propose to bring, including
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            any applicable legal authority that the proposed motion(s) are appropriate at

            this juncture in the case.

      2.    The Court will hold a telephonic status conference at 9:30 a.m. on January

            23, 2020. Dial-in information will be circulated via email. The parties

            shall meet and confer regarding their prospective motions before that call.

      3.    No party shall file any motions for summary judgment or other dispositive

            motions without leave of court.




Dated: December 12, 2019                 s/Elizabeth Cowan Wright
                                         ELIZABETH COWAN WRIGHT
                                         United States Magistrate Judge




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